UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

          - v. -                                                    19 Cr. 328 (JSR)

 MARIO AMILCAR ESTRADA ORELLANA,
 and JUAN PABLO GONZALEZ MAYORGA,

                                     Defendants.


JED S. RAKOFF, District Judge:

                   WHEREAS, the defendants MARIO AMILCAR ESTRADA ORELLANA and

JUAN PABLO GONZALEZ MAYORGA have certain rights under the United States

Constitution, federal statutes, and the Federal Rules of Criminal Procedure, to pretrial discovery;

                   WHEREAS, the Government recognizes its obligation to provide such discovery

materials to the defendant, consistent with witness safety concerns, the need to protect public

safety, the confidentiality of ongoing investigations, and the confidentiality interests of others;

                   WHEREAS, the discovery materials that the Government intends to provide to the

defendants contain materials that, if disseminated to third parties, could, among other things, pose

a threat to public safety, pose a threat to witnesses and others, impede ongoing investigations, and

implicate the safety, privacy, and confidentiality interests of others;

                   WHEREAS, the Government has demonstrated good cause for the relief set forth

herein;

                   WHEREAS, the defendants, by their respective counsel, consent to the entry of this

Order;
               NOW, THEREFORE, IT IS HEREBY ORDERED, pursuant to Federal Rule of

Criminal Procedure 16(d):

               I.     Discovery materials         designated as     "Protected   Materials" by the

Government shall be used by the defendants, their respective counsel, and their respective

counsel's agents only for purposes of defending the charges, in connection with sentencing, and

pursuing any appeals in this criminal action. To the extent the Protected Materials are shown to

additional persons consistent with the terms set forth below, those additional persons may use the

Protected Materials only in connection with this criminal action.

               2.      The Protected Materials and the information contained or disclosed therein:

                       a.      Shall be used by the defendants or their respective counsel only for

purposes of this criminal action;

                       b.      Shall not be disclosed in any form or way by the defendants or their

respective counsel to any third party except as set forth in paragraphs 2( c) and 3 below;

                       c.         May be disclosed only by the defendants' counsel and only to the

following persons (hereinafter "Designated Persons"):

                             i.           investigative, secretarial, clerical, paralegal and student

personnel employed full-time or part-time by the defendants' attorneys;

                             11.          independent expert witnesses, investigators, or advisors

retained by the defendants in connection with this action; and

                             m.           such other persons as hereafter may be authorized by the

 Court upon such motion by the defendants; and

                        d.         Shall be returned to the Government following the conclusion of this

 case.

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               3.      Defense counsel may seek authorization of the Court-including on an ex

parte basis, where appropriate-to show and when necessary provide certain specified Protected

Materials to persons whose access to discovery materials is otherwise prohibited by the preceding

paragraphs, if it is determined by the Court that such access is necessary for the purpose of

preparing the defense of this case.

               4.      The defendants and their counsel shall provide a copy of this Order to

Designated Persons to whom materials subject to the protections of this Order are disclosed

pursuant to paragraphs 2(c) or 3. Designated Persons shall be subject to the terms of this Order.

               5.      Discovery materials designated as "Sensitive Materials" by the Government

shall be subject to all of the protections and terms set forth in paragraphs 1 through 4. In addition,

the defendants are precluded from possessing any Sensitive Materials (or any copies of such

materials) in any jail facility, either before, during, or after trial, except that the defendants may

review Sensitive Materials in the possession of defense counsel or other staff employed by the

defense, when in the presence of defense counsel or other staff employed by the defense.

               6.      The Government shall designate all materials subject to this protective order

in a manner indicating their status as Protected Materials and/or Sensitive Materials.            The

Government's designation of items as such will be controlling unless and until contrary order of

the Court.




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               7.     The provisions of this Order shall not be construed as preventing the

disclosure of any information in any motion, hearing, trial, or sentencing proceeding held in this

action or to any judge or magistrate of this Court in connection with the above-captioned matter.

AGREED AND CONSENTED TO:




Robert A. Feitel, Esq.                                              Date
Attorney for Mario Amilcar Estrada Orellana


AGREED AND CONSENTED TO:




Michael H. Sporn, Esq.                                              Date
Attorney for Juan Pablo Gonzalez Mayorga


SO ORDERED:



THE HONORABLE JED S. RAKOFF                                         Date
United States District Judge
Southern District of New York




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               7.     The provisions of this Order shall not be construed as preventing the

disclosure of any information in any motion, hearing, trial, or sentencing proceeding held in this

action or to any judge or magistrate of this Court in connection with the above-captioned matter. 1

AGREED AND CONSENTED TO:




Rob~
Attorney for Mario Amilcar Estrada Orellana
                                                                    Date      -11'r



AGREED AND CONSENTED TO:




Michael H. Sporn, Esq.                                              Date
Attorney for Juan Pablo Gonzalez Mayorga


SO ORDERED:




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